         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 1 of 17




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION
JANE UHV-ML DOE                     §ON
     Plaintiff                      §
                                    §
vs.                                 §
                                    §      C.A. No. _________________
UNIVERSITY OF                       §
HOUSTON-VICTORIA                    §
     Defendant                      §
                                    §
________________________________________________________________________

                       PLAINTIFF’S ORIGINAL COMPLAINT

          COMES NOW, Plaintiff “JANE UHV-ML DOE” to file her “Plaintiff’s

Original Complaint” as follows:

                                      PREAMBLE

        UHV STUDENT DISCRIMINATED AGAINST AND TOSSED ASIDE

          Plaintiff was a student at the University of Houston-Victoria seeking a
degree. Most regrettably, for no reason other than discrimination because of
certain disabilities held by Jane, and other violations of Plaintiff’s civil rights by
Defendant, Plaintiff was improperly suspended from of school but a whiff away
from graduation.
                              A. NATURE OF THE SUIT

          1.     Plaintiff Jane (defined hereafter) is a female. With but a few months

away from graduation, Jane’s substantive and procedural due process rights, and,

                                                                                    1
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 2 of 17




equal protection rights were trampled upon and Jane was cast aside. Jane has been

left with no choice to file this Complaint for damages and equitable relief.

          2.     Plaintiff Jane now files this original action for damages and equitable

relief pursuant to:

                 (a)   Section 504 of the Rehabilitation, Comprehensive
                       Services, and Developmental Disabilities Act of 1978, 29
                       U.S.C. § 794;

                 (b)   Title II of the Americans with Disabilities Act, 42
                       U.S.C.A. §§ 12131–50 (2011);

                 (c)   Title IX of the Education Amendments of 1972), 20
                       U.S.C. § 1681 et. seq.; and

                 (d)   42 U.S.C. § 1983 with regards to:

                       (i)     Defendant’s violations of the laws of the United
                               States; and

                       (ii)    Defendant’s denial (under the color of law) of
                               Plaintiff Jane’s equal protection, procedural due
                               process violations, and substantive due process
                               rights granted by the Fourteenth Amendment to the
                               U.S. Constitution;

                       (iii)   Defendant’s denial (under the color of law) of
                               Plaintiff Jane’s freedom of expression and assembly
                               rights granted by the First Amendment to the U.S.
                               Constitution;

                 (e)   Defendant’s actions in violations of provisions of the
                       Texas Constitution; and

                                                                                      2
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 3 of 17




                 (f)   Defendant UHV’s breach of the Educational Contract
                       (defined hereafter).

                                      B.   PARTIES

          3.     Plaintiff “JANE UHC-ML DOE” (“Jane”) is an individual residing in

the State of Texas. Because of the privacy issues involved in this matter and the real

and eminent threat of further retaliation by Defendant, Jane is hereby exercising her

rights to proceed with this matter anonymously.

          4.     The need to protect the identity of Plaintiff Jane does not hinder the

defense of this matter by Defendant, for the facts are well known to the Defendant.

When applying the applicable tests (created by jurisprudence applicable to this Court)

to balance the needed protection of privacy versus any inconvenience to the

Defendant, the protection of Jane’s privacy prevails.

          5.     At such time as the Court might agree on procedures designed (a) to

protect the privacy of Plaintiff Jane, and (b) to protect Plaintiff Jane from further

retaliation, Jane’s identity shall be disclosed.

          6.     Defendant UNIVERSITY OF HOUSTON-VICTORIA (“UHV”) is a

public university owned by, and operating in, the State of Texas that receives grants

and other funding from the United States and may be served with summons by

serving its President as follows:

                                                                                     3
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 4 of 17




                             University of Houston-Victoria
                             c/o Robert K. Glenn, President
                                3007 N Ben Wilson Street
                                   Victoria, TX 77901

                           C. JURISDICTION and VENUE

          7.     The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:

                 (a)   Section 504 of the Rehabilitation, Comprehensive

                       Services, and Developmental Disabilities Act of 1978, 29

                       U.S.C. § 794 (“Section 504”);

                 (b)   Title II of the Americans with Disabilities Act (ADA), 42

                       U.S.C.A. §§ 12131–50 (2011) (“ADA”);

                 (c)   20 U.S.C. § 1681 et. seq. (Title IX of the Education

                       Amendments of 1972) (“Title IX”); and

                 (d)   Section 1983 of Title 42 of U.S.C. (“Section 1983”

          8.     Venue is proper in the Southern District of Texas (Victoria Division)

because Defendant UHV operates its schools in, and from, Victoria and Victoria

County, Texas, which is within the Southern District of Texas.




                                                                                      4
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 5 of 17




                              C. FACTUAL ALLEGATIONS

                                  Who is Plaintiff Jane?

          9.     Until just recently, Plaintiff Jane was a student nearing graduation at

Defendant UHV.

          10.    Upon enrollment in Defendant UHV, Plaintiff Jane took the necessary

steps to register for accommodations due to Jane’s federally recognized disabilities

(“Jane’s Disabilities”) as allowed by Jane’s Section 504 rights. As a result, Jane was

granted certain “Accommodations.”

          11.    Had the Defendant not violated Plaintiff Jane’s civil rights and

intentionally done everything possible to stop Plaintiff Jane, Jane would soon be

graduating from Defendant UHV.

                      Defendant UHV’s Actions to cast Jane Aside.

          12.    By refusing to provide the Accommodations entitled to Plaintiff Jane

and as a direct result of Jane’s Disabilities, Defendant suspended Jane

(“Suspension”).

          13.    Defendant UHV’s Suspension of Plaintiff Jane is also in violation of the

university catalog that governs Jane’s admission to Defendant UHV (“Educational

Contract”).


                                                                                       5
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 6 of 17




                                      Harm to Jane.

          14.    With the Suspension, Plaintiff Jane is unable to graduate and pursue

Jane’s selected career.

          15.    For the purposes of this matter, Defendant UHV’s discrimination of

Plaintiff Jane because of Jane’s Disabilities, Defendant UHV’s failure to provide

Plaintiff Jane’s Accommodations, and UHV’s breach of the Educational Contract

shall be collectively referred to hereafter as the “Civil Rights Violations.”

          16.    Plaintiff Jane has suffered severe physical, emotional, and economic

harm as a result of the Civil Rights Violations committed by Defendant and shall

suffer future physical, emotional, and economic harm.

          17.    The Civil Rights Violations committed by Defendant as to Plaintiff Jane

were intentional and in bad faith, made with full knowledge that the damage to

Plaintiff Jane would follow Jane for the rest of her life, constituting conscious

indifference by Defendant UHV.

          18.    Upon information and belief, Defendant’s Civil Rights Violations

committed against Plaintiff Jane constitutes disparate treatment of females (including

Plaintiff Jane) and has had a disparate impact on female students (including Plaintiff

Jane), in violation of Title IX.


                                                                                      6
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 7 of 17




                    Defendant’s Action Under the Color of State Law.

         19.     The administrators, participating in Defendant UHV’s Civil Rights

Violations as to Plaintiff Jane, are the applicable persons delegated with

implementing and were implementing the policies and customs of Defendant UHV

when committing the Civil Rights Violations of Plaintiff Jane.

          20.    Further, if such policies are not, in fact written, each of the

administrators participating in Defendant UHV’s Civil Rights Violations as to

Plaintiff Jane were implementing the policies and customs of Defendant UHV in

accord with the customs and practices of Defendant UHV.

                                 Administrative Remedies.

          21.    There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Jane.

Even if such Preconditions did exist, the actions of Defendant have shown that such

efforts would be futile or are otherwise moot.

          22.    As a result of Defendant’s Civil Rights Violations targeted at Plaintiff

Jane, Plaintiff Jane was forced to engage an attorney and pursue this action to redress

such wrongs.

          23.    All conditions precedent to Plaintiff Jane bringing these claims have

been met.
                                                                                       7
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 8 of 17




                        E. PLAINTIFF’S CAUSES OF ACTION

          24.    Plaintiff Jane incorporates by reference the facts set forth in Article D:

FACTUAL ALLEGATIONS hereof.

                      COUNT ONE: SECTION 504 VIOLATIONS

          25.    As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UHV falls under the

jurisdiction and requirements of Section 504.

          26.    As mandated by Section 504, Defendant UHV is prohibited from

discriminating against students having been diagnosed with various disabilities.

          27.    Plaintiff Jane’s Disabilities qualify as disabilities covered by Section

504, and Defendant UHV’s Civil Rights Violations against Jane are direct violations

of Section 504,

          28.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Section 504 have caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section 504.

          29.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Section 504 have caused Plaintiff Jane to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future
                                                                                         8
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
         Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 9 of 17




compensatory damages, for which Plaintiff Jane now sues in accord with Section

504.

                          COUNT TWO: ADA VIOLATIONS

          30.    As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UHV falls under the

jurisdiction and requirements of the ADA.

          31.    As mandated by the ADA, Defendant UHV is prohibited from

discriminating against students having been diagnosed with various disabilities.

          32.    Plaintiff Jane’s Disabilities qualify as disabilities covered by the ADA,

and Defendant UHV’s Civil Rights Violations against Jane are direct violations of

Section 504.

          33.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of the ADA have caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with the ADA.

          34.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of the ADA have caused Plaintiff Jane to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with the ADA.
                                                                                        9
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 10 of 17




                        COUNT ONE: TITLE IX VIOLATIONS

          35.    As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UHV falls under the

jurisdiction and requirements of Title IX.

          36.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane are so

severe, pervasive, and objectively offensive that Plaintiff Jane has been deprived

access to educational opportunities and benefits provided by Defendant UHV in

violation of Title IX.

          37.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane failed

to protect Plaintiff Jane from discrimination in violation of Title IX.

          38.    Defendant UHV’s Civil Rights Violations as to Plaintiff Jane constitute

disparate treatment of females (including Plaintiff Jane) and has had a disparate

impact on female students (including Plaintiff Jane) in violation of Title IX.

        39.      Defendant UHV’s discriminatory conduct toward Plaintiff Jane, in

violation of Title IX has caused Plaintiff Jane to suffer a loss of benefits and created

economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Title IX.

          40.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Title IX have caused Plaintiff Jane to suffer mental and emotional
                                                                                      10
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 11 of 17




distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Title IX.

                       COUNT FOUR: SECTION 1983 VIOLATIONS

          41.    Section 1983 of Title 42 of the United States Code provides, in part,:

                        “Every person who under color of any statute,
                        ordinance, regulation, custom, or usage, of any
                        State…subjects, or causes to be subjected, and citizen
                        of the United States…to the deprivation of any rights,
                        privileges, or immunities secured by the Constitution
                        and laws, shall be liable to the part injured in an action
                        at law, suit in equity, or other proper proceeding for
                        redress…”

          42.    Defendant UHV’s Civil Rights Violations were committed against

Plaintiff Jane under the color of law and resulted in the violation of Plaintiff Jane’s

rights under the United States Constitution and other federal laws.

          43.    Specifically, Defendant UHV’s Civil Rights Violations were committed

under the color of law and resulted in the violation of Plaintiff Jane’s rights under:

                 (a)    Section 504;

                 (b)    the ADA;

                 (c)    Title IX;

                 (d)    the procedural due process requirements of the United
                        States Constitution as set forth in the Fourteenth
                        Amendment, in violation of Jane’s Property Rights;

                                                                                          11
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 12 of 17




                 (e)   the substantive due process requirements of the United
                       States Constitution set forth in the Fourteenth
                       Amendment in violation of Jane’s Property Rights; and

                 (f)   the equal protection requirements of the United States
                       Constitution set forth in the Fourteenth Amendment in
                       violation of Jane’s Property Rights.

          44.    Defendant UHV’s Civil Rights Violations of Plaintiff Jane, in

violation of Section 1983 has caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section

1983.

          45.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Section 1983 have caused Plaintiff Jane to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section

1983.

          46.    Plaintiff Jane also seeks equitable relief to which Plaintiff Jane is

entitled by Section 1983, including but not being limited to:

                 (a)   reinstatement of Plaintiff Jane; and

                 (b)   requiring Defendant UHV to strike all negative
                       information, emails, evaluations, and materials as to
                       Plaintiff Jane.

                                                                                    12
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 13 of 17




         COUNT FIVE: VIOLATIONS OF THE TEXAS CONSTITUTION

          47.    As a university owned and operated by the State of Texas, Defendant

UHV’s action are also subject to scrutiny of protections created by the Texas

Constitution.

          48.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane were

committed under the color of law and resulted in the violation of Plaintiff Jane’s’

rights under the Constitution of the State of Texas.

          49.    Specifically, Defendant UHV’s Civil Rights Violations committed

towards Jane were committed under the color of law and resulted in the violation of

Plaintiff Jane’s rights under:

                 (a)   the procedural due process requirements of the Texas
                       Constitution found in Article 1, Section 19;

                 (b)   the substantive due process requirements of the Texas
                       Constitution found in Article 1, Section 19; and

                 (c)   the equal protection requirements of the Texas
                       Constitution found in Article I, Section 3.

Hereafter, the foregoing shall be collectively referred to as “Violations of the Texas

Constitution.”




                                                                                   13
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 14 of 17




          50.    Defendant UHV’s Violations of the Texas Constitution as to Plaintiff

Jane have caused Plaintiff Jane to suffer a loss of benefits and created economic

losses.

          51.    Defendant UHV’s Violations of the Texas Constitution as to Plaintiff

Jane have caused Plaintiff Jane to suffer mental and emotional distress and

damages.

          52.    Although Plaintiff Jane, as a private party living in the State of Texas,

has no standing to seek monetary damages for the Defendant UHV’s Violations of

the Texas Constitution as to Plaintiff Jane, Plaintiff Jane does seek the equitable

relief to which Plaintiff Jane is entitled by Texas jurisprudence, including but not

being limited to:

                 (a)   reinstatement of Plaintiff Jane; and

                 (b)   requiring Defendant UHV to strike all negative
                       information, emails, evaluations, and materials as to
                       Plaintiff Jane.

                         COUNT SIX: PUNITIVE DAMAGES

          53.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Section 504 were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s

federally protected rights, thereby entitling Plaintiff Jane to punitive damages
                                                                                        14
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 15 of 17




pursuant to Section 504, for which Plaintiff Jane now seeks in an amount of $

1,000,000.00.

          54.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of the ADA were intentional and willful, or at a minimum, were committed

with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s federally

protected rights, thereby entitling Plaintiff Jane to punitive damages pursuant to the

ADA, for which Plaintiff Jane now seeks in an amount of $ 1,000,000.00.

          55.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Title IX were intentional and willful, or at a minimum, were committed

with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s federally

protected rights, thereby entitling Plaintiff Jane to punitive damages pursuant to Title

IX, for which Plaintiff Jane now seeks in an amount of $ 1,000,000.00.

          56.    Defendant UHV’s Civil Rights Violations against Plaintiff Jane in

violation of Section 1983 were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s

federally protected rights, thereby entitling Plaintiff Jane to punitive damages

pursuant to Section 1983, for which Plaintiff Jane now seeks in an amount of $

1,000,000.00.


                                                                                     15
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 16 of 17




                   COUNT SEVEN: POST JUDGMENT INTEREST

          57.    Plaintiff Jane also requests post judgment interest as may be allowed by

applicable law.

                         COUNT EIGHT: ATTORNEYS’ FEES

          58.    Plaintiff Jane should be awarded her reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                               F.   REQUEST FOR JURY

          59.    Plaintiff Jane hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                               G. PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Jane prays that: summons be issued upon

Defendant; upon final trial hereof, that judgment be entered in favor of Plaintiff Jane

for the actual, consequential, and exemplary damages set forth herein including post

judgment interest; that Plaintiff Jane be granted the equitable relief be granted; that

Plaintiff Jane be reimbursed her reasonable and necessary attorneys’ fees required to

bring this matter; all costs of Court be taxed against Defendant; and that Plaintiff Jane

have such further and other relief, general and special, both at law or in equity, to

which he may show herself to be justly entitled.
                                                                                      16
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
        Case 6:19-cv-00036 Document 1 Filed on 04/24/19 in TXSD Page 17 of 17




          Respectfully submitted,

                                      Gorman Law Firm, pllc



                                      By:
                                            Terry P Gorman, Esq.
                                            Texas Bar No. 08218200
                                            tgorman@school-law.co
                                      901 Mopac Expressway South, Suite 300
                                      Austin, Texas 78746
                                      Telephone: (512) 320-9177
                                      Telecopier: (512) 597-1455
                                      ATTORNEYS FOR PLAINTIFF
                                      JANE UHV-ML DOE




                                                                                17
PLAINTIFF’S ORIGINAL COMPLAINT
tpg 2019.04.24
